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                  THE UNIVERSITY OP NEW MEXICO
               -HEALTH SCIENCES CENTER


                   June 18, 2009



                   Muskogee Regional Med!cal Center
                   Medical Staff Office
                   300 Rockefeller Drl11&
                   Muekog1111, OK 74401

                   Re:                Dennis P. Rivero, MD

                   Dear: Sir/Madam
                   Please be advlaed that the above mentioned prael!Uoner has been a member, of the
                   UNM Heam, SOien* Center with prMlege& 11'1 the Dti>artMent of OrthopMdios,
                   Diltision of Adult Reoonetructlon from June 9, 1892 IO p,..ent, D1,1rina thl, period Dr.
                   Rivero's appointment and clinical prMl119e11 have l'llrnalned unchanged.

                   There is no derogatory Information ooncemlnlil professlonal petformance, character,
                   current competence or current phySlcal and mll'l'ltsl status.
                   Th(I Information is provided baaed upon my genera• knowledge and documentation
                    provided within the credentials file •
                  . Slnc:erely,

                    (Av)~
                    AUaon Webster, CPCS. CPMSM
                    Manager, Provider credantlalklg




                                                                                                              tOTAL P,002
                                                             EXHIBIT 7
